           Case 07-10416-BLS              Doc 9976        Filed 12/04/09     Page 1 of 3




                   IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE DISTRICT OF DELAWARE
---------------------------------------------------------------------x
In re:                                                                   Chapter 11
NEW CENTURY TRS HOLDINGS, INC., a Delaware                               Case No. 07-10416 (KJC)
Corporation, et al.,                                                     (Jointly Administered)
                                     Debtors.


---------------------------------------------------------------------x

  NOTICE OF (I) ENTRY OF ORDER CONFIRMING MODIFIED SECOND
    AMENDED JOINT CHAPTER 11 PLAN OF LIQUIDATION OF THE
DEBTORS AND THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS
    DATED AS OF SEPTEMBER 30, 2009 AND (II) EFFECTIVE DATE

PLEASE TAKE NOTICE THAT:

         1.      On April 2, 2007 (the “Petition Date”), New Century Financial Corporation,
a Maryland corporation, and its direct and indirect subsidiaries, New Century TRS
Holdings, Inc., a Delaware Corporation, New Century Mortgage Corporation, a California
corporation, NC Capital Corporation, a California corporation, Home123 Corporation, a
California corporation, New Century Credit Corporation, a California corporation, NC Asset
Holding, L.P., a Delaware limited partnership, NC Residual III Corporation, a Delaware
corporation, NC Residual IV Corporation, a Delaware corporation, New Century R.E.O.
Corp., a California corporation, New Century R.E.O. II Corp., a California corporation, New
Century R.E.O. III Corp., a California corporation, New Century Mortgage Ventures, LLC,
a Delaware limited liability company, NC Deltex, LLC, a Delaware limited liability
company, and NCoral, L.P., a Delaware limited partnership, as debtors and debtors-in-
possession in the above-captioned chapter 11 cases (collectively with New Century
Warehouse Corporation, the “Debtors”), filed voluntary petitions for relief under chapter 11
of title 11 of the United States Code, §§ 101-1532 (as amended, the “Bankruptcy Code”), in
the United States Bankruptcy Court for the District of Delaware (the “Bankruptcy Court”),
and on August 3, 2007, New Century Warehouse Corporation, a California corporation filed
voluntary petition for relief under the Bankruptcy Code in the Bankruptcy Court, which case
was jointly administered with the chapter 11 cases of the other Debtors.

        2.     On July 15, 2008, the Bankruptcy Court entered an order (as amended by
order of the Bankruptcy Court dated July 23, 2008, the “Original Confirmation Order”)
confirming the Second Amended Joint Chapter 11 Plan of Liquidation of the Debtors and
the Official Committee of Unsecured Creditors Dated as of April 23, 2008 (the “Original
Plan”).




130566.01600/40185393v.1
           Case 07-10416-BLS             Doc 9976        Filed 12/04/09        Page 2 of 3




        3.      Pursuant to the Original Confirmation Order, the Original Plan became
effective in accordance with its terms. The effective date of the Original Plan occurred on
August 1, 2008 (the “Original Effective Date”).

       4.      On July 14, 2008, the Beneficiaries1 filed a Notice of Appeal of the
Confirmation Opinion (the “First Appeal”). On July 24, 2008, the Beneficiaries filed a
Notice of Appeal of the Confirmation Order (the “Second Appeal” and together with the
First Appeal, the “Appeal”).2

       5.     On June 16, 2009, the District Court issued a Memorandum Opinion and
Order regarding the Appeal (together, the “Order Reversing Confirmation”). The Order
Reversing Confirmation was entered on June 17, 2009.

       6.     On September 30, 2009, the Modified Second Amended Joint Chapter 11
Plan of Liquidation of the Debtors and the Official Committee of Unsecured Creditors
Dated as of September 30, 2009 (the “Modified Plan”)3 was filed.

       7.     Pursuant to section 1129 of the Bankruptcy Code, on November 20, 2009,
the Bankruptcy Court entered an order (the “Modified Confirmation Order”) confirming
the Modified Plan, which Modified Confirmation Order provides, among other things,
that:

               A.     The Modified Plan is confirmed as having met the requirements of
section 1129 of the Bankruptcy Code.

               B.     The Modified Plan and its provisions shall be binding on any
Holder of a Claim or Interest and their respective successors and assigns, whether or not
the Holder of a Claim or Interest is impaired under the Modified Plan and whether or not
such Holder has accepted the Modified Plan.

        8.     Pursuant to the Modified Confirmation Order, the Modified Plan became
effective in accordance with its terms, and the Effective Date occurred on December 1,
2009.
        9.     Pursuant to the terms of the Original Plan, on the Original Effective Date the
New Century Liquidating Trust Agreement (the “Trust Agreement”) was executed, thereby

1
  The “Beneficiaries” are former employees, Gregory J. Schroeder, Michelle Park, Martin Warren, Steve
   Holland and Nabil Bawa and the Ad Hoc Committee of Beneficiaries of the New Century Financial
   Corporation Deferred Compensation Plan and/or Supplemental Executive Retirement/Savings Plan, for
   themselves and all other similarly situated beneficiaries of the New Century Corporation Deferred
   Compensation Plan and/or Supplemental Executive Retirement/Savings Plan who had filed an objection
   to confirmation of the Plan which was overruled by the Bankruptcy Court based on a fully developed
   evidentiary record by its Opinion and Order Regarding the Opinion on Confirmation of the Plan entered
   on July 2, 2008 [D.I. 8254 and 8255].
2
  The First Appeal and the Second Appeal were subsequently consolidated into a single appeal before the
   United States District Court for the District of Delaware (the “District Court”).
3
  Capitalized terms used herein and not otherwise defined have the meanings ascribed to such terms in the
   Modified Confirmation Order and the Modified Plan.


130566.01600/40185393v.1
           Case 07-10416-BLS         Doc 9976      Filed 12/04/09      Page 3 of 3




creating the Trust and appointing Alan M. Jacobs as Trustee of the Trust. On the Original
Effective Date, among other things, all Assets of the Debtors (excluding Access Lending
Assets but including Access Lending Interests) were distributed to the Trust and all of the
remaining members of the Debtor’s Board of Directors and Officers ceased to serve in those
capacities by operation of the Original Confirmation Order.

        10.     Pursuant to the terms of the Modified Plan and Modified Confirmation
Order, the creation of the Trust, the appointment of the Trustee and the transfer of the Assets
to the Trust have been adopted, ratified and confirmed, effective as of the Original Effective
Date.

       11.    Persons wishing to obtain copies of the Modified Plan or Modified
Confirmation Order may request copies of the same from counsel to the Liquidating Trust.
Such requests may be directed to Hahn & Hessen LLP, 488 Madison Avenue, New York,
New York 10022, Attention: Mark S. Indelicato and Janine M. Cerbone.

Dated: December 4, 2009


                                                       /s/ David W. Carickhoff
                                                       Bonnie Glantz Fattell (No. 3809)
                                                       David W. Carickhoff (No. 3715)
                                                       BLANK, ROME LLP
                                                       1201 Market Street, Suite 800
                                                       Wilmington, Delaware 19801
                                                       (302) 425-6400 – Telephone
                                                       (302) 425-6460 – Facsimile

                                                        - and -

                                                       Mark S. Indelicato
                                                       Mark T. Power
                                                       Janine M. Cerbone
                                                       Huria S. Patwardhan
                                                       HAHN & HESSEN LLP
                                                       488 Madison Avenue, 15th Floor
                                                       New York, New York 10022
                                                       (212) 478-7200 – Telephone
                                                       (212) 478-7400 – Facsimile

                                                       Co-Counsel to the New Century
                                                       Liquidating Trust, the Liquidating
                                                       Trustee, and the Plan Administrator
                                                       for Reorganized New Century
                                                       Warehouse Corporation




130566.01600/40185393v.1
